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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

 LISA BARBOUNIS                                 :
                                                :
                         Plaintiff,             :
 -vs-                                           :   CIVIL ACTION NO. 2:19-cv-05030-JDW
                                                :
 THE MIDDLE EAST FORUM,                         :
 DANIEL PIPES (individually),                   :
 GREGG ROMAN (individually), and                :
 MATTHEW BENNETT (individually)                 :
                                                :
                         Defendants.            :

                            JOINT DISCOVERY STATUS REPORT

          Pursuant to this Court’s November 13, 2020 Order (ECF No. 74), plaintiff Ms. Lisa

Barbounis (“Ms. Barbounis” or “Plaintiff”) and defendants The Middle East Forum (“MEF”) and

Mr. Gregg Roman (“Mr. Roman”) (“Defendants”) submit the following Joint Discovery Status

Report.

          Preface Regarding Cornerstone: Cornerstone has raised a concern regarding its role in

this case. Judge Sanchez appointed Cornerstone as a third-party neutral in Middle East Forum v.

Ms. Barbounis, No. 19-5687. In that case, Judge Sanchez has given Cornerstone explicit

instructions regarding what it can/cannot do with the data. Plaintiff’s counsel has not hired

Cornerstone separately to assist with its discovery obligations in the matter before Your Honor.

And Cornerstone has not been retained to do any work on the matter before Your Honor.

Cornerstone is willing to help, but they want to be sure that their activities in this case do not

present any issues with their role as a third-party neutral in the case before Judge Sanchez.

Cornerstone also believes that they should be separately retained by Plaintiff’s counsel or

ordered by Your Honor to be a third-party neutral in this case.




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        1.         Schedule for Producing Text Messages: The Parties agree that text messages

encompasses text messages (SMS messages); iMessages; iChats, Google chats, Instagram DM,

Twitter DM, and WhatsApp messages. In compliance with Your Honor’s Order, Defendants

gave Plaintiff an initial list of the message-threads it seeks production of. Each requested thread

contains a message with a search term hit and thus is subject to production pursuant to Your

Honor’s Order. There are numerous threads with unnamed participants, which Defendants will

continue to parse through to determine, as best they can, if any further threads will need to be

produced. Plaintiff is in the process of producing the applicable message threads. Plaintiff has

not identified a schedule for producing these files.

        The deposition of Defendant, Daniel Pipes is scheduled for tomorrow, Tuesday,

November 16, 2020. Counsel for Plaintiff is preparing for Mr. Pipes’ deposition this evening.

Counsel for Plaintiff was also in a deposition from 9:00 A.M., this morning until 5:10 P.M in

another matter. At 5:10 P.M., Plaintiff’s counsel was still in the deposition. Plaintiff’s counsel

has to then prepare for the deposition of Daniel Pipes which is scheduled for 10:00 A.M.,

Tuesday morning. Accordingly, Plaintiff requests that he be permitted to respond to the list of

text message threads by Wednesday, November 18, 2020. Responding to the text threads will

require Plaintiff’s counsel to review thousands of pages of text threads and it would severely

prejudice Plaintiff’s case if she is unable to adequately prepare for the deposition of Daniel

Pipes, who is a named Defendant with highly relevant testimony in this case.

        2.         Schedule for Producing Attachments: On Monday, November 16, 2020,

counsel for the parties spoke with Cornerstone. Plaintiff’s counsel was in the middle of another

deposition and joined the call for approximately ten minutes. Defense counsel continued the call

with Cornerstone for approximately another 50 minutes. During this call, Cornerstone explained




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that Plaintiff must work this out with the vendor, and Plaintiff has not retained the vendor.

Counsel for Plaintiff scheduled a time after the deposition to contact Cornerstone this evening to

finish the discussion for obtaining the information connected with Your Honor’s Order.

        3.         Total Number of Multimedia Files on Cornerstone Database: During our

multiple discussions with Cornerstone (on Friday, November 13, 2020 and Monday, 16

November 2020), we learned that there are two categories of “multimedia” files. First, there are

“multimedia” files with search-term hits which were produced in the case before Judge Sanchez.

These files have not been produced in the case before Your Honor. Plaintiff’s counsel is

currently reviewing these files. The second category is “multimedia” files without search term

hits. The case before Judge Sanchez has a protocol for dealing with these files. There are

multiple unresolved issues between Plaintiff’s counsel and Cornerstone regarding these files.

                   a.    Audio Files: Plaintiff’s counsel was in an all-day deposition and is in the

        process of determining this. The parties will submit a supplemental report.

                   b.    Video Files: Plaintiff’s counsel was in an all-day deposition and is in the

        process of determining this. The parties will submit a supplemental report.

                   c.    Static Images: Plaintiff’s counsel was in an all-day deposition and is in

        the process of determining this. The parties will submit a supplemental report.

                   d.    Number of files Plaintiff’s counsel has reviewed but not yet produced:

        Plaintiff’s counsel was in an all-day deposition and is in the process of determining this.

        The parties will submit a supplemental report.

                   e.    Number of files Plaintiff’s counsel has not yet reviewed: Plaintiff’s

        counsel was in an all-day deposition and is in the process of determining this. The parties

        will submit a supplemental report.




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        4.         Description of Cornerstone’s Efforts to Access and Obtain Data from Ms.

Barbounis’ Telegram Account: Cornerstone has not found any Telegram data on any of the

electronic sources received from plaintiff. Thus, Cornerstone has not made any attempt to

retrieve this data.

        5.         Description of Redactions Included in November 4, 2020 Production and

Proposed Resolution Concerning the Redactions: Cornerstone made these redactions per

Judge Sanchez’s order and protocol.

                                              Respectfully submitted,


Dated: November 16, 2020                      COZEN O’CONNOR

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